Case No. 1:23-cv-01550-SBP Document 13-9 filed 07/17/23 USDC Colorado pg1of7

town of

Benne

Bennett Municipal Court
207 Muegge Way
Bennett, CO 80102
303-644-3249 x1001

June 28, 2022

Eric Witt
170 Coolidge Court
Bennett, Colorado 80102

Mr. Witt,
Please find the attached bench warrant for your arrest.

You were issued summons citation number #B6731 for violating one (1) count of BMC Ordinance 13-3-80 Unlawful Use
or Acquisition (water). You failed to appear for your hearing on June 22, 2022 at 6:00 p.m. to comply with a court order
by that date, or contact the court regarding options; Judge Ausmus issued the warrant for your arrest. The Judge ordered a
PR bond in the amount of $500 on your case. You have four options at this point:

1. You may turn yourself in, at any time, to the Adams County Police Department. Make sure to have the bond
money on you or with another person who can bond you out, in order to avoid spending time in jail. A bail
bondsman may act as a surety. In certain circumstances, you may be eligible for a personal recognizance bond if
you are unable to pay your bond. Once the bond is paid, we will clear the warrant and set you a bond return
hearing where you will appear before the judge to have penalties assessed. If the penalties are less than your bond
amount, we will return the remainder of the bond by mail.

2. Turn yourself in on a court date at the Bennett Municipal Court office, 207 Muegge Way, Bennett, CO. You will
need to contact the court for the date and time of the next court date.

3. You may also pay your bond directly to the Bennett Municipal Court under prearranged conditions. If you are
living out of state, you can pay on-line at the https://www.colorado.gov/townofbennett website. Once the bond is
paid, we will clear the warrant and set you for a bond return hearing. For out of state defendants, the court may
process the case with a plea by mail. If you have any questions regarding your warrant, please contact the court.

4. You may contact the court in writing explaining your failure to appear and request that the bench warrant be
vacated and a resetting of your court date. Within your written explanation, you must provide your current
address and phone number. In your written explanation, you may request that the current cash or surety bond
be converted into a Personal Recognizance Bond (PR Bond) which would require you to appear at the next
available court date. However, it would be left up to the Court to grant a PR Bond. If the Court grants your
request for a PR Bond, you would be required to appear at the Bennett Town Hall to sign the PR Bond
paperwork within two business days upon notification. If the court denies your request for a PR Bond, you
would be required to post either a cash or surety bond.

Christina Hart
Bennett Municipal Court Clerk
Case No. 1:23-cv-01550-SBP Document 13-9 filed 07/17/23 USDC Colorado pg 2 of7

IN THE MUNICIPAL COURT OF THE TOWN OF BENNETT
COUNTIES OF ADAMS AND ARAPAHOE, STATE OF COLORADO

CASE NO.: CE22-0005

SUMMONS #86731 - ee
______ BENCH WARRANT -
STATE OF COLORADO
COUNTIES OF ADAMS AND ARAPAHOE )
TOWN OF BENNETT )
) THE PEOPLE OF THE STATE OF COLORADO
VS.
Witt, Eric

TO ANY AUTHORIZED LAW ENFORCMENT OFFICER OF THE AFORESAID MUNICIPALITY:

WHEREAS, Officer Buono has heretofore made complaint and summons has been issued commanding
Witt, Eric, Defendant, to appear in this court and whereas said Defendant failed to appear on 1 count

of Ordinance 13-3-80 Unlawful Use or Acquisition (water).

You are therefore commanded to forthwith arrest the above-named Defendant and bring him/her before
a judge in said Municipal Court of the Town of Bennett, 207 Muegge Way, Bennett, Colorado 80102 to
be dealt with according to the law, hereof fail not at your peril. In accordance with Colorado law, the
Defendant shall be scheduled for a bond hearing no less than 2 days, excluding Sundays & Federal
Holidays, following notice to this court that the Defendant is in custody. In the event such hearing does
not occur, the bond herein shall be immediately amended to a personal recognizance bond.

Given under my hand and seal this 27" day of June A.D. 2022
Dated: June 27, 2022

j itlenn oes ee
defendant be released on a PR bond if the a fice a “hold a ee within four 4) calendar days of being notified
by the jail of the municipal hold, excluding Sundays an and Federal Holidays.

THE DEFENDANT IS TO BE ADMITTED TO BAIL IN THE SUM OF $500 PR Bond

DEFENDANT INFORMATION: Eric Witt
LK ADDRESS: 170 Coolidge Court, Bennett, Colorado 80102

Phone: 720-560-8282

DOB: UK. HGT: U/K WGT: U/K Sex: M

EYES: U/K HAIR: U/K RACE: U/K
VEH LIC#: U/K DRIV LIC#: U/K
Case No. 1:23-cv-01550-SBP Document 13-9 filed 07/17/23 USDC Colorado pg 3of7

fey Gmail Christina Hart <chart@bennett.co.us>

CASE # CE22-0005 BENCH WARRENT

2 messages

Eric Witt <ericwitt34@gmail.com> Tue, Jul 26, 2022 at 9:13 AM
To: "chart@bennett.co.us" <chart@bennett.co.us>

Hello,

My name is Eric Witt. | am requesting the bench warrent for case number CE22-0005 be vacated. | was unaware | had court to attend. | did speak with
an employee from the town of bennett that had left a note on my door to contact. | attempt contact and then got a response after a few days. | was informed
there was a summons being mailed to me. | explained | was confused about the situation and was told the summons would come in the mail. | kept an eye
out for it and never was never served or received it via mail.

lam a single dad with custody and it would be detramental to my child for me to get arrested. | will go to court anytime I get a summons. If vacated and a
rescheduled court date is issued. | will absolutely show up. So I am requesting to please vacate this bench warrent.

Thank you,

Eric Witt
170 Coolidge Ct, Bennett, CO 80102

Christina Hart <chart@bennett.co.us> Tue, Jul 26, 2022 at 1:06 PM
To: Eric Witt <ericwitt34@gmail.com>

Mr. Witt,

Thank you for your email. The court administrator will contact the Municipal Judge's with your request. You will be contacted regarding your case once the
Judge has responded.

Respectfully,
Christina

ZZ Christina Hart | Town Clerk
Bennett | : 207 Muegge Way | Bennett CO, 80102
7 (303)644-9249 ext. 1001| chart@bennett.co.us
townofbennett.colorado.gov

welcome neighbors.

[Quoted text hidden]
Case No. 1:23-cv-01550-SBP Document 13-9 filed 07/17/23 USDC Colorado pg 4of7

iM; Gmail Christina Hart <chart@bennett.co.us>

RE: Witt, Eric - 6-22-2022 FTA / BW issued

3 messages

Christina Hart <chart@bennett.co.us> Tue, Jul 26, 2022 at 3:33 PM
To: Andy Ausmus <andy@ausmuslaw.com>
Cc: "Day, Shawn” <sday@auroragov.org>, Joe Lico <ninewords@msn.com>

Greetings,

Mr. Witt failed to appear for his June 22 arraignment. He was charged with violating BMC 13-3-80 Unlawful Use or Acquisition (water).

A bench warrant was issued with a $500 PR bond. Mr. Witt received notification of the bench warrant.

Mr. Witt contacted the court yesterday requesting the bench warrant be vacated. Please provide direction on how the court should proceed.

Respectfully,
Christina

Christina Hart | Town Clerk

207 Muegge Way | Bennett CO, 80102
(303)644-3249 ext. 1001 | chart@bennett.co.us
townofbennett.colorado.gov

welcome neighbors.

Day, Shawn <Sday@auroragov.org> Tue, Jul 26, 2022 at 4:00 PM
To: Christina Hart <chart@bennett.co.us>, Andy Ausmus <andy@ausmuslaw.com>
Cc: Joe Lico <ninewords@msn.com>

Hi Christina,
Please accept this email as my Order to cancel the bench warrant and re-set Mr. Witt's case for the August court date.
Respectfully,

Shawn

[Quoted text hidden]

Christina Hart <chart@bennett.co.us> Tue, Jul 26, 2022 at 4:18 PM
To: "Day, Shawn" <Sday@auroragov.org>
Cc: Andy Ausmus <andy@ausmuslaw.com>, Joe Lico <ninewords@msn.com>

Thank you, Judge Day.

ex, Christina Hart | Town Clerk

a
Bennett | 207 Muegge Way | Bennett CO, 80102
—— (303)644-3249 ext. 1001 | chart@bennett.co.us
townofbennett.colorada.gov
welcome neighbors.

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Case No. 1:23-cv-01550-SBP Document 13-9 filed 07/17/23 USDC Colorado pg5of7
9/27/22, 8:02 AM Town of Bennett Mail - CASE # CE22-0005 BENCH WARRENT

i « Gmail Christina Hart <chart@bennett.co.us>

CASE # CE22-0005 BENCH WARRENT

7 messages

Eric Witt <ericwitt84@gmail.com> Tue, Jul 26, 2022 at 9:13 AM
To: "chart@bennett.co.us" <chart@bennett.co.us>

Hello,

My name is Eric Witt. | am requesting the bench warrent for case number CE22-0005 be vacated. | was unaware | had
court to attend. | did speak with an employee from the town of bennett that had left a note on my door to contact. | attempt
contact and then got a response after a few days. | was informed there was a summons being mailed to me. | explained |
was confused about the situation and was told the summons would come in the mail. | kept an eye out for it and never
was never served or received it via mail.

| am a single dad with custody and it would be detramental to my child for me to get arrested. | will go to court anytime |
get a summons. If vacated and a rescheduled court date is issued. | will absolutely show up. So | am requesting to please
vacate this bench warrent.

Thank you,

Eric Witt
170 Coolidge Ct, Bennett, CO 80102

Christina Hart <chart@bennett.co.us> Tue, Jul 26, 2022 at 1:06 PM
To: Eric Witt <ericwitt34@gmail.com>

Mr. Witt,

Thank you for your email. The court administrator will contact the Municipal Judge's with your request. You will be
contacted regarding your case once the Judge has responded.

Respectfully,
Christina
Pe,
a Christina Hart | Town Clerk
207 Muegge Way | Bennett CO, 80102
——— (303)644-3249 ext. 1001 | chart@bennett.co.us

townofbennett.colorado.gov
welcome neighbors.

[Quoted text hidden]

Eric Witt <ericwitt34@gmail.com> Thu, Jul 28, 2022 at 3:46 PM
To: Christina Hart <chart@bennett.co.us>

Hello,
Has there been any update on my case?

Thanks
[Quoted text hidden]

Eric Witt <ericwitt34@gmail.com> Thu, Jul 28, 2022 at 3:57 PM
To: Christina Hart <chart@bennett.co.us>

Hello,

Can you direct me to where | can see a copy of the summons?

https://mail.google.com/mail/u/0/?ik=2ca4 7a5a1 7 &view=pt&search=all&permthid=thread-f%3A 1739428644996248283&simpl=msg-4%3A 1739428644 ... 1/3
Case No. 1:23-cv-01550-SBP Document 13-9 filed 07/17/23 USDC Colorado pg 6of7
9/27/22, 8:02 AM Town of Bennett Mail - CASE # CE22-0005 BENCH WARRENT

Thanks
[Quoted text hidden}

Christina Hart <chart@bennett.co.us> Mon, Aug 1, 2022 at 9:11 AM
To: Eric Witt <ericwitt34@gmail.com>

Mr. Witt,

Thank you for your email. Attached is the summons along with the incident reports. You should be receiving a notice for
your new arraignment in the mail. Your arraignment has been reset for August 24, 2022, at 6:00 p.m. at the Bennett Town
Hall.

The bench warrant has been canceled.
Respectfully,

Christina

B 207 Muegge Way | Bennett CO, 80102
LL (303)644-3249 ext. 1001 | chart@bennett.co.us
townofbennett.colorado.gov

SF, Christina Hart | Town Clerk
ennietel_

welcome neighbors.
[Quoted text hidden]

ez Witt, Eric B6731.pdf
2022K

Eric Witt <ericwitt34@gmail.com> Mon, Sep 26, 2022 at 9:52 AM
To: Christina Hart <chart@bennett.co.us>

Hello Ms Hart,

| am requesting all documentation concerning as follows. | request a complete discovery for case# CE22-0005 and/or for
any other case #, other legal matter records and/or documentation held by the Town Of Bennett within the last 5 years.
Legal matter records and/or documents requested regarding issuance or involvement from the Town Of Bennet.
Specifically, records/documents concerning myself Eric Witt and/or my property since the beginning of my acquiring said
property located at 170 Coolidge Court, Bennett, Colorado 80102. In the event this request won't be completely satisfied,
this request shall include receipt of the items aforementioned that may be partially fulfilled by the court. This request is
made so any reasonable man/woman would understand. This request shall not be denied for any defect or want of form
by the courts, but the said court shall respectively, without regard to any imperfections, defects or want of form of such
request. You have my consent to send the aforementioned requests via email to this email

address ericwitt34@gmail.com.

Have a great day.

Thank you,

Eric Witt
[Quoted text hidden]

Christina Hart <chart@bennett.co.us> Mon, Sep 26, 2022 at 2:36 PM
To: Eric Witt <ericwitt34@gmail.com>

Mr. Witt,

Thank you for your email. The court is happy to provide discovery on Case #CE22-0005. The Court will provide the
documents to you within 24 hours.

Respectfully,
Christina

https://mail.google.com/mail/u/0/?ik=2ca47a5a1 7 &view=pt&search=all&permthid=thread-f%3A 1739428644996248283&simpl=msg-f%3A1 739428644... 2/3
Case No. 1:23-cv-01550-SBP Document 13-9 filed 07/17/23 USDC Colorado pg 7 of 7

BENNETT MUNICIPAL COURT
207 Muegge Way

Bennett, Colorado 80102-7806
303-644-3249 Ext. 1001

July 26, 2022

Eric Witt
170 Coolidge Court
Bennett, Colorado 80102

Mr. Witt,

The Bennett Municipal Court has cancelled the bench warrant and has reset your arraignment for
August 24, 2022 at 6:00 p.m.

Enclosed you will find the court order with the information for your newly scheduled arraignment.

R pectfully }
ji lle
Jpn Hart

Bennett Municipal Court Clerk
Town of Bennett

